                         UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF NORTH CAROLINA


NORTH CAROLINA STATE
CONFERENCE OF THE NAACP; et al.,
                                             CASE NO. 1:18-cv-1034
                          Plaintiffs,
       v.

ALAN HIRSCH, in his official capacity as     LEGISLATIVE DEFENDANTS’
Chair of the North Carolina State Board of   MEMORANDUM IN SUPPORT OF
Elections; et al.,                           CONDITIONAL MOTION TO STAY
                                             PENDING APPEAL
                            Defendants,
and
PHILIP E. BERGER, in his official
capacity as President Pro Tempore of
the North Carolina Senate, and
TIMOTHY K. MOORE, in his official
capacity as Speaker of the North
Carolina House of Representatives,
      Legislative Defendant Intervenors.




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                                    INTRODUCTION

       A “bedrock tenet of election law” is that, “[w]hen an election is close at hand, the

rules of the road must be clear and settled.” Merrill v. Milligan, 142 S. Ct. 879, 880-81

(Mem.) (2022) (Kavanaugh, J., concurring in grant of applications for stays). “[R]unning

a statewide election is a complicated endeavor.” Democratic Nat’l Comm. v. Wis. State

Legislature, 141 S. Ct. 28, 31 (2020) (Kavanaugh, J., concurring in denial of application to

vacate stay). The Supreme Court’s “election-law precedents” therefore “establish (i) that

federal district courts ordinarily should not enjoin state election laws in the period close to

an election, and (ii) that federal appellate courts should stay injunctions when . . . lower

federal courts contravene that principle.” Milligan, 142 S. Ct. at 879 (Kavanaugh, J.,

concurring) (citing Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam)); see also Pierce v.

N.C. State Bd. of Elections, 97 F.4th 194, 226 (4th Cir. 2024) (collecting examples). This

Purcell principle against “late-in-the-day judicial alterations to state election laws” “not

only prevents voter confusion but also prevents election administrator confusion—and

thereby protects the State’s interest in running an orderly, efficient election and in giving

citizens (including the losing candidates and their supporters) confidence in the fairness of

the election.” Democratic Nat’l Comm., 141 S. Ct. at 31 (Kavanaugh, J., concurring).

       As explained in Legislative Defendants’ proposed findings of fact and conclusions

of law, the Court should find that S.B. 824 does not violate the Fourteenth or Fifteenth

Amendments to the U.S. Constitution or Section 2 of the Voting Rights Act. But if the Court

disagrees and enters judgment in Plaintiffs’ favor, the Court should stay its judgment and

any injunction against enforcement of S.B. 824 pending appeal because the 2024 general

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election is already close at hand, and the “State’s election machinery is already in progress.”

Reynolds v. Sims, 377 U.S. 533, 585 (1964). With absentee voting beginning just two

months from now (and even closer to any decision entered in late summer or early fall),

the Court should not belatedly enjoin enforcement of the election laws that North Carolina

used in the 2023 municipal and 2024 primary elections. Indeed, the Supreme Court has

already invoked Purcell to stay a district court ruling involving an Equal Protection Clause

challenge in advance of Louisiana’s November 2024 elections. Robinson v. Callais, 144 S.

Ct. 1171, 1171 (Mem.) (May 15, 2024). Purcell likewise would make altering the rules for

North Carolina’s 2024 general election at this late date inequitable. North Carolina

“candidates and voters alike are now entitled to the stability and sense of repose that

engender trust and confidence in our elections.” Pierce, 97 F.4th at 229. And the reason we

are in this predicament is Plaintiffs’ inexplicable decision to wait for a year after the

Supreme Court’s determination that Legislative Defendants were entitled to intervene to

seek to get this case moving again. Plaintiffs cannot complain of the application of Purcell

when they had a ready means to avoid it.

       Enjoining enforcement of S.B. 824 for the 2024 general election would cause chaos

and confusion. Legislative Defendants would immediately appeal such an injunction. As

the Federal Rules require a party to “ordinarily move first in the district court for” a stay

pending appeal, FED. R. APP. P. 8(a)(1), Legislative Defendants preemptively request that,

if this Court enters judgment against Defendants or enjoins enforcement of S.B. 824, the

Court enter a stay pending appeal without requiring bond under Federal Rule of Civil

Procedure 62. Cf. N.C. State Conf. of the NAACP v. McCrory, 182 F. Supp. 3d 320, 526

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(M.D.N.C. 2016) (invoking Purcell to extend pretrial injunction against enforcement of

provisions in H.B. 589 for election two months away despite simultaneously ruling in favor

of defendants), rev’d on other grounds, 831 F.3d 204 (4th Cir. 2016). If there is another

change to S.B. 824, such change should be final and after the 2024 general election.

                               QUESTION PRESENTED

       If the Court enters judgment in Plaintiffs’ favor, should it stay pending appeal the

judgment and any injunction against enforcement of S.B. 824?

                                STATEMENT OF FACTS

       On November 6, 2018, the citizens of North Carolina amended the North Carolina

Constitution to require that “[v]oters offering to vote in person shall present photographic

identification before voting” and to direct the General Assembly to “enact general laws

governing the requirements of such photographic identification, which may include

exceptions.” N.C. CONST. art. VI, § 2(4); see also id. § 3(2) (same). Compelled by this

mandate, the General Assembly enacted implementing legislation—S.B. 824.

       Plaintiffs filed suit challenging the law but waited nine months to seek a preliminary

injunction. See Mot. for Prelim. Inj., Doc. 72 (Sept. 17, 2019). This Court held that

Plaintiffs were unlikely to succeed on their VRA disparate impact claim “according to the

evidence currently in the record” at the preliminary injunction stage. Prelim. Inj. Op., Doc.

120 at 52–53 (Dec. 31, 2019). And the Fourth Circuit ruled that Plaintiffs “fail[ed] to meet

their burden of showing that the General Assembly acted with discriminatory intent in

passing” S.B.824 once “the proper burden and the presumption of good faith are applied.”

N.C. State Conf. of the NAACP v. Raymond, 981 F.3d 295, 305 (4th Cir. 2020). The North

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Carolina Supreme Court held that S.B.824 does not violate the North Carolina

Constitution’s Equal Protection Clause, under either the federal standard or the North

Carolina standard. Meanwhile, this Court stayed further proceedings while the Supreme

Court determined whether Legislative Defendants were entitled to intervene in this case.

On June 23, 2022, the Supreme Court answered yes. See Berger v. N.C. Conf. of the

NAACP, 597 U.S. 179 (2022). On June 9, 2023, Plaintiffs moved to lift the stay. Holmes v.

Moore, 886 S.E.2d 120, 139–40 (N.C. 2023). North Carolina used S.B.824 in the 2023

municipal elections and the 2024 primary elections. Trial concluded on May 13, 2024.

                                      ARGUMENT

       The Supreme “Court has repeatedly emphasized that lower federal courts should

ordinarily not alter the election rules on the eve of an election.” Republican Nat’l Comm.

v. Democratic Nat’l Comm., 589 U.S. 423, 424 (2020) (per curiam). The Purcell principle

prohibits this Court from enjoining enforcement of S.B. 824 before the 2024 general

election. The Fourth Circuit and the North Carolina Supreme Court have both allowed S.B.

824 to go into effect for North Carolina elections, and the law’s status quo should remain

until the completion of the appellate process. Both Purcell and the traditional stay factors

weigh heavily in favor of a stay pending appeal.

I.     Purcell Prohibits Altering Election Laws for the 2024 General Election.

       The “traditional test for a stay does not apply (at least not in the same way) in

election cases when a lower court has issued an injunction of a state’s election law in the

period close to an election.” Milligan, 142 S. Ct. at 880 (Kavanaugh, J., concurring). In

such circumstances, the Supreme Court’s Purcell principle applies and requires a stay of

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federal court injunctions that contravene it. Id. (collecting examples). Purcell applies here.

       A.      The status quo must remain with the 2024 general election close at hand.

       The Purcell principle prohibits courts from engaging in “[l]ate judicial tinkering

with election laws” before the 2024 general election. Pierce, 97 F.4th at 226 (quoting

Milligan, 142 S. Ct. at 880–81 (Kavanaugh, J., concurring)). The 2024 general election is

already “close at hand.” Id. The Supreme Court has stayed injunctions of election laws

“when absentee voting in the primary elections was set to begin nine weeks later,” id.

(citing Milligan, 142 S. Ct. at 879), and has already stayed a lower court’s injunction of

Louisiana law in advance of its November 2024 congressional elections, Robinson, 144 S.

Ct. at 1171.

       North Carolina is squarely within the time period when the Purcell principle

prohibits disrupting the status quo for the 2024 general election. The “State legislature’s

decision” to implement the state constitutional amendment by enacting S.B. 824 is the

status quo. Andino v. Middleton, 141 S. Ct. 9, 10 (2020) (Kavanaugh, J., concurring in grant

of application for stay) (citing Middleton v. Andino, 976 F.3d 403, 404–07 (4th Cir. 2020)

(en banc) (Wilkinson & Agee, J.J., dissenting from denial of stay), rev’d, 141 S. Ct. 9

(granting stay)); see also Wise v. Circosta, 978 F.3d 93, 98 (4th Cir. 2020) (en banc) (Wynn,

J., denying injunctive relief) (“[I]t is not federal court decisions, but state decisions, that

establish the status quo.”).

       Six years ago, 55.49% of North Carolina voters voted in favor of the voter-ID

amendment. See 11/06/2018 Official General Election Results – Statewide (Referenda),

N.C. STATE BD. OF ELECTIONS, https://bit.ly/3zprNnL. The General Assembly promptly

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enacted S.B. 824 to implement the people of North Carolina’s command. Although

injunctions initially prohibited North Carolina from enforcing S.B. 824 and thus frustrated

the will of the people and the democratically accountable General Assembly, the law

governed the 2023 municipal elections and 2024 primaries. Approximately 2 million North

Carolinians went to the polls in those elections. Over 99.9% of them did so with qualifying

ID. North Carolina voters are familiar with and capable of voting with S.B. 824 in effect.

       Enjoining enforcement of S.B. 824 before the 2024 general election would

undoubtedly “lead to disruption,” Milligan, 142 S. Ct. at 881 (Kavanaugh, J., concurring),

and cause both “voter confusion” and “election administrator confusion,” Democratic

Nat’l Comm., 141 S. Ct. at 31 (Kavanaugh, J., concurring). As explained in Legislative

Defendants’ proposed findings of fact and conclusions of law, the Court heard testimony

regarding how the State Board, Plaintiff organizations, and numerous other groups have

already educated North Carolina voters about how S.B. 824 applies to North Carolina’s

elections. Yet as Marcus Bass (the executive director of Advance Carolina and the deputy

director of the North Carolina Black Alliance) testified, swift changes in election policy

hinder voter engagement. 5/9/24 Tr. at 1043:12-13, 1058:22-24, 1059:24-1060:4, 1083:2-

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       Attempting to turn the State’s election apparatus on a dime would also impose

serious costs and burdens on the hardworking public servants at the State Board of

Elections and County Boards of Elections. The voter-ID law, for example, applies to

absentee voting. “For the November 5, 2024 general election, absentee voting begins on

September 6, 2024, with in-person early voting taking place from October 17, 2024 to

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November 2, 2024.” State Bd. Defs.’ Resp. to Pls.’ Mot. to Set Trial Date, Doc. 219 at 3

(Nov. 2, 2023) (citing N.C. GEN. STAT. §§ 163-166.40, 163-227.10); see also 5/10/24 Tr.

at 1112:3-5. Ballots cannot be instantaneously printed and prepared for mailing. As the

State Board represented to the Court, the largest counties “need to know that they need to

alter their absentee ballots by, essentially, July 1st.” 5/9/24 Tr. at 1087:22-1088:2. That

drop-dead date has already arrived. “[A]bsentee voting in the” 2024 general election is “set

to begin nine weeks” from now, so Purcell squarely applies. Pierce, 97 F.4th at 226.

       That it is too late to alter North Carolina’s election laws should come as no surprise.

When the preliminary injunction appeal was before the Fourth Circuit in 2020, State Board

Defendants represented that “early July” was the latest possible date for changing North

Carolina’s election laws that would still give election officials sufficient “lead-time for

designing the ballot envelope, for procuring ballots, [] for printing them,” for “updat[ing]

the code in the State Board’s information management system,” and for “carry[ing] out

voter education and training” of poll workers. State Bd. Defs.’-Appellants’ Reply Br., N.C.

State Conf. of the NAACP Raymond, No. 20-1092, 2020 WL 4347165, at *23-24, *29 (4th

Cir. July 27, 2020), Doc. 103. “Even seemingly innocuous late-in-the-day judicial

alterations to state election laws can interfere with administration of an election and cause

unanticipated consequences.” Democratic Nat’l Comm., 141 S. Ct. at 31 (Kavanaugh, J.,

concurring). And belatedly enjoining S.B. 824 would not be an innocuous change. Cf.

North Carolina v. N.C. State Conf. of the NAACP, 137 S. Ct. 27, 28 (2016) (Roberts, C.J.,

and Kennedy, Alito, and Thomas, J.J., indicating they would grant a stay); North Carolina

v. League of Women Voters of N.C., 574 U.S. 927 (Mem.) (2014) (staying preliminary

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injunction of H.B. 589).

       Even in March of this year, the Fourth Circuit applied Purcell to affirm the denial

of an injunction of North Carolina’s Senate maps because the “2024 North Carolina Senate

election is well underway.” Pierce, 97 F.4th at 226. The Fourth Circuit refused to require

the State Board “to generate, proof, and distribute new ballots” even if North Carolina

could somehow complete its primaries and make all the necessary modifications by “July

or August” in advance of the November general election. Id. at 227. Purcell prohibits

federal courts from “triggering” such a “cascade of election chaos.” Id.

       B.     Even a more relaxed version of Purcell requires a stay pending appeal.

       Straining against Purcell, Plaintiffs might argue that “a relaxed version of the

Purcell principle” ought to apply. Merrill, 142 S. Ct. at 881 (Kavanaugh, J., concurring).

But Plaintiffs cannot satisfy even a relaxed version of Purcell because they cannot even

establish “at least” all of the following: (i) “the underlying merits are entirely clearcut in

favor of the” Plaintiffs; (ii) the Plaintiffs “would suffer irreparable harm absent the

injunction”; (iii) the Plaintiffs have “not unduly delayed” in pursuing their claims; and

(iv) “the changes in question are at least feasible before the election without significant

cost, confusion, or hardship.” Id.; see also Pierce, 97 F.4th at 229 (ruling in the alternative

that “[t]hose prerequisites have not been shown here” by plaintiffs).

       First, the underlying merits are certainly not entirely clearcut in Plaintiffs’ favor. On

a similar record, this Court already ruled that Plaintiffs were unlikely to prevail on their

Section 2 claim, N.C. State Conf. of the NAACP v. Cooper, 430 F. Supp. 3d 15, 50–51

(M.D.N.C. 2019), and the Fourth Circuit held that Plaintiffs were unlikely to prevail on

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their constitutional claims, Raymond, 981 F.3d 295. The North Carolina Supreme Court

also upheld S.B. 824 against an Equal Protection challenge, even under the Arlington

Heights framework. Holmes, 886 S.E.2d at 139.

       Second, Plaintiffs would not suffer irreparable harm. Plaintiffs have failed to

identify a single North Carolina voter who cannot vote under S.B. 824, let alone a member

of their organizations. Plaintiffs no doubt oppose voter ID in all its forms. 5/6/24 Tr. at

143:17-22. But Plaintiffs do “not represent a class or putative class of” voters who will be

unable to vote while S.B. 824 is in effect. Coal. for TJ v. Fairfax Cnty. Sch. Bd., No. 22-

1280, 2022 WL 986994, at *6 (4th Cir. Mar. 31, 2022) (Heytens, J., concurring in grant of

stay pending appeal). Plaintiffs have failed to justify throwing North Carolina “into

disarray for the next several months” when the vast majority of voters had no problem

complying with S.B. 824 during the 2023 municipal and 2024 primary elections. Id.

       Third, Plaintiffs have repeatedly and unduly delayed these proceedings. Plaintiffs

waited nine months after filing this case to ask this Court to preliminarily enjoin

enforcement of S.B. 824. See Mot. for Prelim. Inj., Doc. 72. That delay resulted in this

Court informing the parties three business days before the State Board’s drop-dead date for

the March 2020 primaries that the Court would issue a preliminary injunction. See Dec. 26,

2019 Docket Entry; Prelim. Inj. Op., Doc. 120 (Dec. 31, 2019). The Fourth Circuit did not

reverse that preliminary injunction until after the 2020 general election. Raymond, 981 F.3d

295. About a year-and-a-half later, the U.S. Supreme Court ruled that Legislative

Defendants were “entitled to intervene in this litigation.” Berger, 597 U.S. at 200; see

Mandate, Doc. 200 (July 27, 2022). Proceedings in this case, however, remained stayed for

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another year until Plaintiffs filed a Motion to Lift Stay and for a Status Conference on June

9, 2023, Doc. 202.

       Even then Plaintiffs did not request a trial date. Instead, they attempted to obtain

discovery that they failed to request years ago. See Order Denying Pls.’ Mot. to Reopen

Discovery, Doc. 210 (Sept. 12, 2023). Plaintiffs did not request a trial date until October

2023. Mot. to Set a Trial Date, Doc. 215. Plaintiffs’ proposed February 2024 trial date was

unrealistic, especially as they continued to seek the reopening of discovery, and the

summary judgment motion remained pending. See Legis. Defs.’ Resp. to Pls.’ Mot. to Set

a Trial Date, Doc. 218 (Oct. 18, 2023). Plaintiffs unduly delayed and should not be

rewarded with yet another injunction shielded from appellate review until after a general

election.

       Fourth, for the reasons explained above, the changes in question are not feasible

before the 2024 general election without significant cost, confusion, or hardship. Enjoining

enforcement of S.B. 824 before the 2024 general election would result in a tremendous

expenditure of North Carolina election officials’ limited resources if they were forced to

scramble to reeducate voters, poll observers, and staff while simultaneously redesigning

and reprinting ballots, envelopes, and instructional materials. Purcell applies.

       II.    The Traditional Stay Factors Would Also Weigh in Defendants’ Favor.

       The Purcell principle is just one equitable bar to relief before the 2024 general

election. The “traditional test for a stay” pending appeal, Milligan, 142 S. Ct. at 880

(Kavanaugh, J., concurring), would also weigh in favor of a stay, even if the 2024 general

election were not already pending or if the Court enters an injunction after the election. See

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Coal. for TJ, 2022 WL 986994, at *1 (per curiam) (identifying Nken v. Holder, 556 U.S.

418 (2009), as the applicable standard and granting stay pending appeal).

       That four-part inquiry considers (1) “whether the applicant has made a strong

showing that he is likely to succeed on the merits”; (2) “whether the applicant will be

irreparably injured absent a stay”; (3) “whether issuance of the stay will substantially injure

the other parties interested in the proceeding”; and (4) “where the public interest lies.”

Nken, 556 U.S. at 434 (cleaned up); see Long v. Robinson, 432 F.2d 977, 979 (4th Cir.

1970). District courts in the Fourth Circuit frequently “balance these factors.” Fraser v.

ATF, No. 3:22-cv-410, 2023 WL 5617894, at *2 n.2 (E.D. Va. Aug. 30, 2023) (granting

stay); see SEC v. Rex Venture Grp., No. 3:12-cv-519, 2017 WL 2979686, at *2 (W.D.N.C.

July 12, 2017) (granting stay “in the absence of making a strong showing that” applicant

“is likely to succeed on the merits” (quotation marks omitted)); see also Kadel v. Folwell,

No. 1:19-cv-272, 2022 WL 11166311, at *2 (M.D.N.C. Oct. 19, 2022) (Biggs, J.)

(explaining different approaches to the “four-factor balancing test”).

       First, even if the Court does not rule in Defendants’ favor on the merits, Defendants

still have made a strong showing on the merits. This factor “does not require the trial court

to change its mind or conclude that its determination on the merits was erroneous.” United

States v. Fourteen Various Firearms, 897 F. Supp. 271, 273 (E.D. Va. 1995) (quotation

omitted). “Rather, the court must determine whether there is a strong likelihood that the

issues presented on appeal could be rationally resolved in favor of the party seeking the

stay.” Id. As the prior rulings of this Court, the Fourth Circuit, and the North Carolina

Supreme Court all demonstrate, rational minds could resolve the issues in favor of

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Legislative Defendants and uphold S.B. 824.

       The law “is race neutral” and thus “not constitutionally suspect.” Coal. for TJ, 2022

WL 986994, at *1 (Heytens, J., concurring in grant of stay pending appeal) (citing

Raymond, 981 F.3d at 302). As explained in Legislative Defendants’ proposed findings of

fact and conclusions of law, “over 30 States have long enforced” voter-ID laws, many even

stricter than S.B. 824. Democratic Nat’l Comm., 141 S. Ct. at 28 (Gorsuch, J., concurring

in denial of application to vacate stay); see, e.g., Crawford v. Marion Cnty. Election Bd.,

553 U.S. 181 (2008) (upholding Indiana’s photo voter-ID law). “[E]ven if an election were

not a few weeks away,” North Carolina’s “law is commonplace and eminently sensible,”

so this factor would weigh in the State’s favor. Middleton, 976 F.3d at 405 (Wilkinson &

Agee, J.J., dissenting from denial of stay), rev’d, 141 S. Ct. 9 (granting stay).

       Moreover, this is a “substantial case on the merits” with the other factors weighing

in favor of a stay. Project Vote/Voting for Am., Inc. v. Long, 275 F.R.D. 473, 474 (E.D. Va.

2011) (granting stay); see also Fraser, 2023 WL 5617894, at *3 (“In assessing this factor,

‘[m]any courts also take into account that the case raises substantial difficult or novel legal

issues meriting a stay.’” (alteration in original) (quoting 11 ALAN WRIGHT & ARTHUR R.

MILLER, FED. PRAC. & PROC. JURIS. § 2904 (3d ed. 2021)).

       Second, the State of North Carolina would be irreparably injured absent a stay. “Any

time a State is enjoined by a court from effectuating statutes enacted by representatives of

its people, it suffers a form of irreparable injury.” Maryland v. King, 567 U.S. 1301, 1303

(2012) (Roberts, C.J., in chambers). Therefore, “[e]njoining North Carolina from enforcing

its duly enacted” voter-ID law “would inflict a form of irreparable injury.” Pierce, 97 F.4th

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at 225 (cleaned up). Plaintiffs of course disagree with S.B. 824 as a policy matter and

oppose any form of photo voter-ID. But the people of North Carolina and their elected

representatives disagree, and thwarting the will of the people would inflict irreparable

injury on the State.

       Third, a stay would not substantially injure Plaintiffs but would avoid injury to State

Board Defendants and other interested election officials. As explained above and in

Legislative Defendants’ proposed findings of fact and conclusions of law, Plaintiffs have

failed to identify a single North Carolina voter who cannot vote under S.B. 824, let alone

a member of their organizations. Plaintiffs are groups that do not urgently need relief. See

Coal. for TJ, 2022 WL 986994, at *6 (Heytens, J., concurring). State election officials

successfully implemented S.B. 824 in the 2023 municipal and 2024 primary elections. By

the General Assembly’s design, “[t]his law is not burdensome to” Plaintiffs or to “[m]ost”

North Carolina voters. Middleton, 976 F.3d at 406 (Wilkinson & Agee, J.J., dissenting from

denial of stay), rev’d, 141 S. Ct. 9 (granting stay). Plus, “equity ministers to the vigilant,

not to those who,” like Plaintiffs, “sleep upon their rights.” Perry v. Judd, 471 F. App’x

219, 224 (4th Cir. 2012) (cleaned up).

       Fourth, the public interest weighs against the “judicially created confusion,”

Republican Nat’l Comm., 589 U.S. at 425, of preventing North Carolina from enforcing a

law designed to implement a state constitutional amendment, protect the integrity of North

Carolina’s elections, increase public confidence in elections, and bring North Carolina’s

election laws in line with other states. S.B. 824 should remain in place unless and until the

last appellate court to decide the case “finally and definitively” rules it unlawful.

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Middleton, 976 F.3d at 407 (Wilkinson & Agee, J.J., dissenting from denial of stay), rev’d,

141 S. Ct. 9 (granting stay). The traditional stay factors each weigh in Legislative

Defendants’ favor and, when viewed collectively, strongly weigh in favor of staying any

injunction pending appeal.

                                     CONCLUSION

       If the Court enters judgment in Plaintiffs’ favor, Legislative Defendants respectfully

ask the Court to stay pending appeal its judgment and any injunction against enforcement

of S.B. 824.

 Dated: July 1, 2024

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                        CERTIFICATE OF WORD COUNT
      Pursuant to Local Rule 7.3(d)(1), the undersigned counsel hereby certifies that the

foregoing Memorandum, including, body, headings, and footnotes, contains 3,882 words

as measured by Microsoft Word.

                                                      /s/ Nicole J. Moss
                                                      Nicole J. Moss
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                             CERTIFICATE OF SERVICE
       The undersigned counsel hereby certifies that, on July 1, 2024, I electronically filed

the foregoing Memorandum with the Clerk of the Court using the CM/ECF system which

will send notification of such to all counsel of record in this matter.

                                                          /s/ Nicole J. Moss
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